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                                                         EXHIBIT A

                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF DELAWARE

                                                                )
               ELEMICA, INC.,
                                                                )
                                                                )
                          Plaintiff/Counter-Defendant,
                                                                )
                                                                )   Case No. 1:21-cv-893-SB
                                       v.
                                                                )
                                                                )
               ECMARKET INC. d/b/a CONEXIOM INC.,
                                                                )
                                                                )
                          Defendant/Counter-Plaintiff.
                                                                )
                                                                )

                                            JOINT STIPULATION OF DISMISSAL

                      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Elemica, Inc.,

             (“Elemica”) and Defendant, ecMarket Inc. (“ecMarket”), by and through their counsel of

             record, stipulate to:

                      (1) Dismissal with prejudice of Elemica’s claims in this action.

                      (2) Dismissal with prejudice of ecMarket’s counterclaims in this action,

                      (3) Each party to bear its own attorneys’ fees and costs.

                      (4) The District of Delaware shall retain jurisdiction over the Litigation for the purpose
                      of enforcing the Settlement Agreement. (Ex. A).
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                           30 2024
               Dated: May ___,                                Respectfully submitted,

               /s/ Megan E. O'Connor                           /s/ John D. Simmons
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               Megan E. O’Connor (#6569)                       Dennis Butler (#5981)
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               ecMarket Inc.                                   Elemica, Inc.
